                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:12-00076
                                                    )      JUDGE CAMPBELL
ALLEN R. WALKER, et al.                             )

                                            ORDER

       The Court will hold change of plea hearings on March 24, 2014 for the following

Defendants at the times indicated. Any Defendant who does not intend to plead guilty need not

attend the hearing scheduled for March 24, 2014, at 1:00 p.m., the trial having been continued by

contemporaneous Order.

                             1:00 p.m.      Jeffrey Johnson
                                            Billy Griffith

                             2:00 p.m.      Ashley Johnson
                                            Robert Hall

                             3:00 p.m.      Anthony James
                                            Jason Powell

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00076        Document 310       Filed 03/21/14      Page 1 of 1 PageID #: 972
